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Eiieen Fanar §
Plainti&`(s), §
VS. §
_ ) ' 1’ » l 7»/
volkswagen orAmeriea Defendmt($)_§ CASE NO-3 A (/7 .sc
)

 

CONIPLAINT

Plai-nti&` m is acorp.oration that has paidits taxes due the state and filed its required reports
is not a corporation

Defendant is indebted to the plaintiff in the principal amount of $ 12»000
plus interest and conft costs as a result at failure to pay of loan amount in a reasonable time
frame; failure to communicate with lender and consumer regarding claim/loan. Negative ratings

 

   

.-.u____ ' _. '_ .. _‘.. '

60 days ago.

which occurred at or near Palmer/An€h°rage . Alaska, on
or abbut 2/24/2017

 

4(month/day/year)

Plaintiff has demanded relief from the defendant, but defendant has failed to comply. Plaintiff
requests small claims procedure, gives up» the right to a jury trial and formal procedure in- this
case, and waives all of this claim which exceeds $10,000. Ifthe court enters an order applying
the formal Rules of Civil Procedure rather than the Small Claims Rules to this action1 this waiver
will be null and void. 'I'his action is Hled at a court which will not cause unnecessary expense or
inconvenience to the defendant and is the court nearest to: (Check applicable boxes.)

the residence or place of employment of defendant
where personal injury or property damage occurredl
where the defenth does or solicits business

Eileen Fa'rr'ar

m and Title (if applicable)
55'\‘%\\‘} » M

Date ' Plaintiff (Signature)
PO Box 67_1648 Chugiak AK 99567-1648
Mailing Address City - State ZIP
907-317~4646 907-317~4646
Home Phone Work Phone

 

 

 

 

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Instructions: If you are filing documents supporting your claim (for example: promissory notes,
checks, receipts, bills), you must also attach a copy of each document for e_a_c_h defendant

'S'C-i (5/12)(3§,~3) -Dist. Ct. Civ. R. .l.O(a)¢and 12(a)
COMPLAINT AS 22.15.040

   

Case 3:17-cV-00130-TI\/|B Document 1-1 Filed 06/05/17 Page 1 of 6

 

 

May 8, 2017

FlE: Vo|kswagen (VW) Ciaim # 161826860 & 3PA-

On November 11, 2013, l purchased a VW ~ Jetta - Sedan - diesel l learned in

. September 2015, that VW had committed fraud against consumers who purchased a
VW diesel vehicle ln October, 2016, the Federal Courts accepted a plea deal with VW
and the Federal Government.

On December 5, 2016, l filed my claim on|ine via the portal that was set up by VW. On
that Same date l signed a Flelease of information (RG|) for my lender, Credit Union 1. l
also called the toll free number and spoke to “Flaven" regarding the questions l was
answering One of my questions that day was how long does this process take. She
responded once you file your claim we have 20 days to review it; then we send you a
response/offer; you then have 20 days to review that and respond; once you accept the
offer then you set up and appointment to have the car bought back (if you select that
option) which will take place in 15 days. So from start to finish 54-60 days depending
on how- fast everyone responses to the next step.

On January 5, 2017, l accepted the'offer but nothing thereafter went remotely as
planned or previously stated l went to make my appointment to have the car bought
back and was given the date of February 24, 2017, at 1200 hours l called into say that
was not acceptable as everyone knows when you get a pay off amount for a loan it is
usually only good for 10 days and if you ask maybe 20 but that is not usually the case l
was then told by customer service that l was wrong about the time frames and since l
live in Alaska they had NO representative until then to take the car back. l asked for a
supervisor and was told one was not available and they would call me back. No call was
ever returned

So, l waited till 2 weeks before the 24th and called in again to get the process of
returning the car as l wanted my credit union involved in the.buy back process. So, l
spoke with a supervisor named Shirley, she told me that at»my appointment they will
look at the car verify everything then with in 48-72 hours a check will be overnighted to
my lender. l stated but l had been told that since the offer was accepted the checks
(both lender pay off and restitution check) would be given at the day of appointment
She stated that`the check would be made out to my lender but that will only be done
after the vehicle is received l was skeptical about turning over a vehicle without a pay
off check in hand but l felt l had no choice in the matter. l went to my credit union and
explained what l had been told and was worried about this process Th`e Assistant
Branch Manager l had been working with was very understanding and offered to call
VW to work out the payment l was thrilled for the help and provided all the
documentation that l had been provided from VW and explained that l signed a FlOl for
the credit union on December 5, 2016. She stated that is on file as they called us‘and
received the pay off amount in January. However, the was NOT the case and VW flat

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Case 3:17-0v-OOlSO-Tl\/|B Document 1-1 Filed 06/05/17 Page 2016

 

out REFUSED to speak to her or the credit union at all and stated they were NOT a
party to the case But legally they are and VW should NOT have refused But they did
multiple times. Being the great credit union they are they tried again to speak to VW
about the pay off and process to which again they were denied any information and
refused to look for the FiOl that was on file. So, even my credit union was turned away.

'On February 24, 2017, at 1200 hours at the Kendall VW Dealer in Anchorage, l turned
over my vehicle and once again the entire process was changed againl l was informed
that the pay off for the vehicle would take place in 30 days. l was SHOCKED' and upset
at that statement; l explained what l had been told and the response was l have no idea
why you were told that. l then placed a call to the toll free number while waiting for the
lady completed the acceptance of my vehicle and once again their story had changed
On the phone l was told the process which again changed from what l was told the last
time l called in. l stated that fact, that each time l call in the story changes on how this
is to work. Their response, they could see that l had been calling in but didn't know
what information l was told So, l completed the return process, left and went straight to
my credit union and explained what l was told They again were understanding and
stated given the documents they had, they felt that VW in good faith would pay off the
loan in 30 days as they stated and would work with me on giving me another loan.

After multiple phone calls, emails and internet searches to get help in getting my loan
paid off in a reasonable time frame as promised or expected that has not happened l
have called the secondary and primary law firms that handled the original case and was
told they cannot take action but that l was not alone in this issue. l even called VW no
help. l signed back into the portal, my claim shows settled and closed, so no help there.
l even called Federa| Agencies, such as OCC and Consumer Finance (complaint).com
they cannot help me. lhave taken countless other steps to resolve this issue but all end
with no help and the issue remains unresolved

At this time my loan has 6 negative reports against my credit due to the unreasonable
amount of time VW is taking in getting a check to my lender. ln addition, until my name
is off the title, which means until it is paid off, l am legally responsible for the vehicle in
the State of Alaska, but l have no idea where the vehicle is and l took the insurance off
of it the day l returned it. So, at this time l am asking for damages for negative reporting
(per the Fair Credit Fleporting Act). Due to the negligence of VW and their
unreasonable pay off procedures this has created an undue burden on me and my
lender.

Eileen Farrar

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IN THE DISTRICT COURT FOR THE STATE OF ALASKA AT PA"VY\"C(L `

 

Pia‘mrirlj(s),

 

\vls\l\l §§ AW\€V\`CG& :V\QC-

Defendant(s).

 

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ANSWER, COUNTERCLA]l\/l, REQUEST
FOR CHANGE OF PLACE OF TRIAL

 

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[Only defendants who elect small claims procedure may use this form. Do not use this form if
you elect Parl l of the Dz`strict Court Rules of Cile Procedure.]

l. ANSWER. Defendant answers the complaint as follows: g
I agree with what the plaintiff claims. _

[:] lowe the plaintiff: [:l Nothing [:] $ '_ '_ because

 

 

[l coUNTERCLAiM. The piatmifrowesme$?' - because

 

 

NOTE: The maximum amount of the counterclaim which may be recovered under
small claims procedure is $10, 000 A plaintiff against whom a counterclaim is filed has
ten days after such claim is mailed to him/her to demand that formal District Court rules
apply. If plaintiff does so, this action will no longer be treated as a small claim.

2. REQUEST FOR CHANGE OF PLACE OF TRIAL. m Irequest that the court
change the place of trial to 7 ‘ , Alaska, because

 

3. SMALL CLAIMS ELECTION. I understand I have the right to proceed under Part I of the

. District CourtRules of CivilProcedure. However, I HEREBY ELECT SMALL CLAIMS

PROCEDURE. I give up my right to a jury trial and formal procedure and waive all my
counterclaim (if any) which exceeds $lO, 000. _ _

 

 

 

 

 

 

 

 

Date Print Name and Title (if applicable) l
FOR COURT USE ONLY
I certify that on S‘g“at“re
a copy of this answer was sent to
plaintiff(s): Mailing Address City State ZlP
Clerk: m Home Phone Work Phone

 

 

INSTRUCTIONS: If you are filing documents supporting your claim (for example: checks, receipts,
bills), you must attach them to this Answer. You must also attach a copy of each document for the
plaintiff Return the original and one copy of this Answer to the court. Keep one copy for your records.

SC-3 (9/04)(st.3) ANSWER Dist. Ct. Civ. R. lO, 12, 13

PAGB M{m't‘ l-
Case 3:17-cv-00130-TI\/|B Document 1-1 Filed 06/05/17 Page4of6

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IN THE DISTRICT COURT FOR THE STATE OF ALASKA AT Pplim`(£`

 

 

 

 

<;il€er\' l;emrw\ ’ '§
Plaintiff(s), §
vs. §
\l\l\) §§ Arvifrica\. °Ir~r.. §
Defendant(s). §

 

[Only defendants who elect small claims procedure may use this form. Do not use this form if
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l. ANSWER. Defendant answers the complaint as follows:

cAsENo.?)Q/i ~l7 ~ 147 sc

 

ANSWER, COUNTERCLAIM, REQUEST

FOR CHANGE OF~P-LACE OF TRIAL

I agree with what the plaintiff claims
[:l l owe the plaintiff: |:] Nothing \:i $

because f

 

 

|:i CoUNTERCLAii\/i. The plaintiff owes me $
4 .

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-."

 

 

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counterclaim (if any) which exceeds $l0,000.

 

Date -*'

 

FOR COURT USE ONLY

 

 

I certify that`on
a copy of this answer was sent to 4
plaintiff(s):

 

Clerk:

 

 

 

Print Name and Titlc (if applicable)

 

Signature

 

Mailing Address

City State ZIP

 

Home Phone

Work Phone

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sc-s (9/04)(si.3) ANSWER

Disi. ct civ. R. 10, 12, 13

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IN~THE DISTRICT COURT FOR THE STATE OF ALASKA 'AT Min'\""( m

Ql\<:’-€r\l `l:;ei”tmi\"`

 

Piaintiff(`s),

 

 

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Defendant(s).

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ANSWER,.,COUNTERCLAM, REQUEST
- '» : FoR CHANGE oF~.P.LAcE or TRIAL

 

 

 

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[] COUNTERCLAIM. The plaintiff owes me $ - because

 

 

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lb`t

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FOR COURT USE ONLY ,
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SC-3 (9/04)(st.3) ANSWER ` Dist. Ct. Civ. R. 10, 12, 13 _

 

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Case 3:17-cv-00130-TI\/|B Document 1-1 Fl|ed 06/05/17 Pag§€égot£d@m

